Case 1:17-cr-00008-WJM Document 146 Filed 12/30/18 USDC Colorado Page 1 of 6


                                                       U.S. DEPARTMENT OF JUSTICE

                                                       Robert C. Troyer
                                                       United States Attorney
                                                       District of Colorado


 Jeremy Sibert                                         1801 California Street, Suite 1600       (303) 454-0100
 Assistant United States Attorney                      Denver, CO 80202                     FAX (303) 454-0401


                                                             December 30, 2018
Via USPS, Email, and Electronic Filing

Mr. Clifford J. Barnard
4450 Arapahoe Ave, #100
Boulder, CO 80303
Cliffbarnard@earthlink.net

Mr. Thomas Edward Goodreid
1801 Broadway, Suite 1400
Denver, CO 80202
t.goodreid@comcast.net

        Re: United States v. Guy Jean-Pierre 17-cr-00008-WJM

Dear Counsel:

The purpose of this letter is to disclose the government’s expert witnesses pursuant to the
discovery order entered in this case and Rules 702, 703 and 705 of the Federal Rules of
Evidence.

Professor Steven Thel will testify as the government’s expert witness in matters relating to the
registration and sale of securities, the securities law outlined in the superseding indictment and
the federal securities regulation system. Prof. Thel is the I Maurice Wormser Professor of Law
at Fordham University School of Law. He has testified in several criminal cases, both for the
prosecution and the defense, as an expert in securities law, securities regulation, securities
practice, and securities corporate practice. A copy of Professor Thel’s resume was sent to the
above addresses.

The scope of Prof. Thel’s testimony will cover all counts in the superseding indictment and will
provide an overview of the federal securities law and regulation system, to include in detail the
specific procedures by which securities may be issued and sold. More specifically, it is
anticipated that Prof. Thel will testify to:
Case 1:17-cr-00008-WJM Document 146 Filed 12/30/18 USDC Colorado Page 2 of 6




      a.   The general purposes and operation of the Securities Act of 1933 and the Securities
           Exchange Act of 1934 and the role of the Security Exchange Commission (SEC) and
           Financial Industry Regulatory Authority (FINRA) in securities regulation;

      b.    Defining key terms within both acts, to include the definition of what a security is
           and the process by which a company or issuer may offer and distribute securities,
           including the requirement that the security be registered with the SEC or offered
           pursuant to an exemption from registration, the conducting of a public or private
           offering, and the issuance of restricted or unrestricted shares of stock;

      c. The purpose, process and general costs of registering a stock with SEC, including the
         filing of a registration statement and preparation of supporting documentation, and
         the definitions and roles of underwriters, dealers, and the general investing public in
         the offering and selling of stock;

      d. The general process and differences between exemptions under the Securities Act of
         1933 to include discussions about Section 4 and the Safe Harbor Rule 144 (17 CFR
         Section 230.144);

      e. The ways in which a share of stock can become a “free trading” share, specifically in
         microcap companies under the security laws, and the common practices/known
         practices of stock transactions, to include promissory notes, convertible promissory
         notes, “block purchases,” payment in shares of stock for work conducted on behalf of
         the issuer (company), holding period/calculation to determine holding period, and fair
         market value for such types of transactions based on the stock price of the shares at
         the time of the transaction;

      f. The indicia of evasion of registration requirements include the use of step transactions
         or sham sales designed to disguise the purpose of the transactions and the connection
         between the parties to the transactions (to include the sale of shares by undisclosed
         controllers of the company), the use of nominee and shell companies, delivery of
         securities as compensation to stock promoters; the quick sale of otherwise restricted
         shares to the marketplace, a pattern of issuance and sale to the general investing
         public of restricted securities, investors receiving payment (through funds or free
         shares) to act as an investor, and the documentation of transactions and reports to give
         the appearance of compliance with the securities laws that does not in fact describe
         how the transactions transpired or how companies were conducting and reporting
         their required disclosures/activities;
Case 1:17-cr-00008-WJM Document 146 Filed 12/30/18 USDC Colorado Page 3 of 6




      g. A description of Pink Sheets and the over-the-counter (OTC) securities markets as
         they differ from the national exchanges, the contrasting types of disclosures
         companies must make/file if trading on an OTC market or national exchange, and the
         lesser scrutiny given to these markets by the SEC and NASD;

      h. The hallmarks of and how prices are set in a manipulated market as contrasted with
         an un-manipulated market; the general nature of securities manipulation schemes and
         some of the indicia of and techniques used to manipulate securities including: the use
         of shell companies, nominees, false statements to transfer agents, coordinated trading,
         matched trades, use of family/friends in a scheme, painting the tape, front running,
         walking up the price of a security, the issuance of false or misleading material
         information about a stock, the use of public campaigns, and the controlling the float
         of available stock. Prof. Thel may opine that the use of these techniques is designed
         to boost price and trading volume of securities so that the perpetrators of the scheme
         can sell their shares to investors in an artificially inflated market;

      i. Prof. Thel will provide testimony and examples/hypotheticals in order to indicate to
         the jury conduct and use of interstate related means/instruments that may be
         considered material, to explain the difference between interstate nexus vs. the ability
         to make use of any means or instruments of transportation or communication, and
         various ways one could be in “control” regarding a manipulative or deceptive device
         scheme in regards to security laws, specifically Title 15, USC § 78j(b); Title 17 CFR
         § 240.10(b)-5 (known as 10(b)-5) and Title 15 USC § 77e(a);

      j. Prof. Thel will define what is a control person under Rule 144, an affiliate/non-
         affiliate under Rule 144, the requirements of an affiliate under Rule 144 in order to be
         able to claim the exemption to include holding period, volume limits, manner of sale,
         and standard practices in the industry regarding a reasonable inquiry under Rule 144;

      k. Prof. Thel will offer his opinion to the use, materiality and importance of the Rule
         144 Attorney Letters to broker firms and transfer agents and the importance of
         Current Information Letters, to include required disclosures to OTC markets (to
         include link, webpage, availability for the public once sent to/posted by OTC) and
         specific information in each individual letter reviewed for this case;

      l. Prof. Thel will offer his opinion as to the required due diligence that a security lawyer
         or officer of a company should conduct, know, inquire, and/or conduct further
         investigation regarding the sale of securities, creation of notes, filing of disclosures
         with OTC and the need to articulate/note and explain changes within the disclosures,
         requirement to respond and cooperate with regulatory investigations and to notify
Case 1:17-cr-00008-WJM Document 146 Filed 12/30/18 USDC Colorado Page 4 of 6




         them of any changes after initial inquires, duty to investigate regarding related party
         transactions and disclose when required, and whether attorney letters (Rule 144 and
         current information letters) should be submitted on behalf of a transaction or report
         when undisclosed control persons of a company are conducting certain types of
         security transactions;

      m. The process of moving a security (stocks) from a individual person/company in order
         to be sold on the market to include the role of a transfer agent, brokers, and promoters
         to include required documents and the purpose of requiring such documents in
         regards to the security laws;

      n. Reasons why stocks on OTC markets are more frequent targets of manipulation
         schemes than those on national exchanges, including because of less stringent
         disclosure requirements for companies, lesser regulation, the lower volume of trading,
         lack of stock analyst coverage, and the greater ability to control the float or corner the
         market;

      o. That Rule 504 or other various ways to issue shares under the security law does not
         create “free trading” or unrestricted shares, and that the security laws prevent the sale
         of issuers shares for the sole purpose of having the funds/proceeds of the sale to be
         reinvested back into the issuing firm;


      p. Prof. Thel will offer his opinion as to whether William Sears was an affiliate and/or
         controlling person regarding his relationship and roles with FusionPharm and the
         several other entities that sold FusionPharm shares based on facts or data in the case
         that Prof. Thel has been made aware of or personally observed and;


      q. Prof. Thel will offer his opinion as to whether defendant conducted required due
         diligence a security lawyer or officer of a company should conduct, know, inquire,
         and/or conduct further investigation regarding the sale of securities, creation of notes,
         filing of disclosures with OTC and the need to articulate/note and explain changes
         within the disclosures, requirement to respond and cooperate with regulatory
         investigations and to notify them of any changes after initial inquires, duty to
         investigate regarding related party transactions and disclose when required, and
         whether attorney letters (Rule 144 and current information letters) should be
         submitted on behalf of a transaction or report when undisclosed control persons of a
         company are conducting certain types of security transactions based on facts or data
         in the case that Prof. Thel has been made aware of or personally observed.
Case 1:17-cr-00008-WJM Document 146 Filed 12/30/18 USDC Colorado Page 5 of 6




Prof. Thel opinions are based on his study, training, and experience as a professor of securities
law and as an attorney with the SEC. These experiences include approximately 20 years of
teaching courses on securities regulation and corporate finance where the subject matter of the
courses consisted of the securities laws. Prof. Thel has published articles and a treatise relating
to both securities regulation and manipulation. He served in the Securities & Exchange
Commission Office of the General Counsel, Enforcement & Disclosure Policy Group where he
was an attorney-advisor.

II. Alexander G. Scoufis

In addition to Prof. Thel, the government will call Alexander G. Scoufis of the Financial Industry
Regulatory Authority (FINRA) to testify at trial concerning a number of matters. The
government does not believe that Mr. Scoufis’s testimony necessary constitutes opinion
testimony requiring disclosure under Federal Rules of Criminal Procedure 16(a)(1)(G), but out of
abundance of caution, the government is providing notice as to Mr. Scoufis as an expert witness
pursuant to the discovery order entered in this case and Rules 702, 703 and 705 of the Federal
Rules of Evidence. Attached to Mr. Scoufis’s summary of expected testimony is a copy of Mr.
Scoufis’s resume.

Since 2016, Mr. Scoufis has worked as an attorney with FINRA’s Office of General Counsel,
Criminal Prosecution Assistance Group. Mr. Scoufis began his career with 2015 where he
worked as an investigator in the Office of Fraud Detection and Market Intelligence. Mr. Scoufis
has testified in four federal cases; United States v. Sizer, et al, 1:16-CR-20715 (S.D.Fl); United
States v. Lawrence, et al, 16-CR-259 (S.D.NY); United States v. Kosinski, 3:2016-CR-148
(D.Conn); and United States v. Bercoon, et al. 1:15-CR-22 (N.D. GA).

Mr. Scoufis is expected to provide at trial background testimony concerning the nature, structure,
and regulation of the securities markets, and the roles of FINRA and the SEC. Mr. Scoufis is
expected to testify regarding the following topics: (a) background information about the nature,
structure, and regulation of the securities market; (b) the SEC’s and FINRA’s roles in regulating
the trading of stocks of publicly-traded companies; (c) general securities industry terms; (d)
disclosure requirements of publicly-traded companies registered with the SEC; (e) documents
required to be filed with the SEC to comply with such disclosure requirements; (f) the general
characteristics of acquiring and merging a public shell with a private company; and (g) types of
manipulative trading.

Mr. Scoufis will also define various terms for the jury, including but not limited to, OTC
markets, reverse merger, shell company, convertible debt, promissory note, restricted shares,
free-trading shares, reverse stock split, affiliate (to include under Rule 144), opinion attorney
letter (to include current information letters and Rule 144 attorney opinion letters), transfer
Case 1:17-cr-00008-WJM Document 146 Filed 12/30/18 USDC Colorado Page 6 of 6




agent, “pink sheets” and other similar terms regarding the world of securities, to include Rule
144, that arise during the course of trial and on cross examination.

Mr. Scoufis is also anticipated to review brokerage statements, shareholder transactional
records/logs, including transfer agent record documents, and publicly available information, all
of which have been produced in discovery. Mr. Scoufis is expected to summarize ownership of
Fusion Pharm stock, trading prices and volume of Fusion Pharm stock, the process of converting
and selling promissory convertible notes, the transfer of money from brokerage accounts to bank
accounts, and the ownership structure of Fusion Pharm and other entities (who owned how many
shares) at different points in time.

In connection with his testimony, Mr. Scoufis will be preparing a series of summary charts. The
government will provide copies of these summary charts in advance of trial. Mr. Scoufis’s
opinions are based, in part, on his training and experience within FINRA, including his
investigative and legal background.


Please feel free to contact me at (303) 454-0100 if you have any questions or concerns regarding
this expert notification.


                                             Sincerely,

                                             s/ Jeremy Sibert
                                             Jeremy S. Sibert
                                             Assistant U.S. Attorney
